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                                                                                   BWW#: VA-312479



                             UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

 IN RE:                                                         Case No. 19-10888-KHK
 MARK ANTHONY ANDERSON
        Debtor                                                  Chapter 13
 _______________________________
 NEWREZ LLC D/B/A SHELLPOINT
 MORTGAGE SERVICING
        Movant
 v.
 MARK ANTHONY ANDERSON
        Debtor/Respondent
 and
 LATAUNIA ANDERSON
        Co-Debtor/Co-Respondent
 and
 THOMAS P. GORMAN
        Trustee/Respondent


                                         NOTICE OF CURE

TO THE CLERK:

         This notice serves to advise this court that the Debtor, Mark Anthony Anderson, cured the
default listed in the Notice of Default filed on behalf of the Movant, NewRez LLC d/b/a
Shellpoint Mortgage Servicing, on June 26, 2020.

                                                     Respectfully Submitted,
                                                     BWW Law Group, LLC

Dated: November 17, 2020                               /s/ Andrew Todd Rich
                                                     _____________________________
                                                      Andrew Todd Rich VSB# 74296
                                                      BWW Law Group, LLC
                                                      8100 Three Chopt Road, Suite 240
                                                      Richmond, VA 23229
                                                      (804) 282-0463 (phone)
                                                      (804) 282-0541 (facsimile)
                                                      bankruptcy@bww-law.com
                                                      Attorney for the Movant

___________________________
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(804) 282-0463 (Phone)
Attorney for the Movant
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                                 CERTIFICATE OF SERVICE

         I certify that on this 17th day of November, 2020, the following person(s) were or will be
served with a copy of the foregoing Notice of Cure electronically via the CM/ECF system or by
first class mail, postage prepaid:


Thomas P. Gorman, Trustee
300 N. Washington St. Ste. 400
Alexandria, VA 22314

Nathan Andrew Fisher, Esq.
3977 Chain Bridge Rd, #2
Fairfax, VA 22030

Mark Anthony Anderson
1411 Admiral Drive
Woodbridge, VA 22192

Lataunia Anderson
1411 Admiral Drive
Woodbridge, VA 22192


                                                       /s/ Andrew Todd Rich
                                                     Andrew Todd Rich
                                                     BWW Law Group, LLC
                                                     Attorney for the Movant
